                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


AMERICAN ACADEMY OF IMPLANT                      §
DENTISTRY, et al,                                §
Plaintiffs,                                      §
                                                 §
                                                 §
v.                                               §   No. 1:14-CV-191-SS
                                                 §
GLENN PARKER, Executive Director of the          §
Texas State Board of Dental Examiners, et al.,   §
                                                 §
                  Defendants,                    §
                                                 §
and                                              §
                                                 §
THE TEXAS SOCIETY OF ORAL AND                    §
MAXILLOFACIAL SURGEONS,                          §
                                                 §
                  Defendant-Intervenor           §
                                                 §

       THE TEXAS SOCIETY OF ORAL AND MAXILLOFACIAL SURGEONS’
                   MOTION FOR SUMMARY JUDGMENT
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                                                                      v
I.     INTRODUCTION

       This lawsuit challenges the constitutionality of a regulation (the “Advertising

Regulation”) promulgated by the Texas State Board of Dental Examiners (“TSBDE”) that

delineates nine areas of dental specialty and prohibits dentists from advertising themselves as

“specialists” unless they have met certain accreditation requirements. Oral and maxillofacial

surgery is one of nine dental specialties recognized in Texas. Plaintiffs challenge the Texas

Advertising Regulation under the First, Fifth, and Fourteenth Amendments, claiming that the

regulation impermissibly treads on their right to hold themselves out as “specialists” in various

fields of dentistry, deprives them of equal protection under the law, and deprives them of due

process of law. The Texas Society of Oral and Maxillofacial Surgeons (“TSOMS” or

“Defendant-Intervenor”)—whose members are oral and maxillofacial surgeons that are permitted

to advertise as “specialists”—intervened in the lawsuit to protect the organization, its members,

and its members’ patients from the harm that would occur if the Advertising Regulation were

invalidated.

        Plaintiffs’ constitutional claims fail as a matter of law for several reasons. Plaintiffs’

First Amendment claim fails because the Advertising Regulation advances a substantial state

interest in protecting the public from misleading commercial speech in a manner that is narrowly

tailored and constitutionally permissible. Plaintiffs’ equal protection claim fails because

Plaintiffs cannot meet their steep burden to prove that there is no conceivable justification for the

Advertising Regulation and because the regulation does not treat Plaintiffs unequally under the

law. Plaintiffs’ procedural and substantive due process claims fail because Plaintiffs cannot

prove that they were deprived of any property interest under the law and cannot show that they

have been denied any procedural due process. Summary judgment against Plaintiffs on all

claims is appropriate.


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II.     BACKGROUND

        A.       THE PARTIES

        Plaintiffs are four dental organizations and five individual dentists that seek to invalidate

the Advertising Regulation in its entirety and to permanently enjoin the TSBDE’s enforcement

of that regulation. See Original Complaint (“Compl.”), Dkt. No. 1. The organizations are the

American Academy of Implant Dentistry (“AAID”), the American Society of Dental

Anesthesiologists (“ASDA”), the American Academy of Oral Medicine (“AAOM”), and the

American Academy of Orofacial Pain (“AAOP”). Id. The individual plaintiffs are Jay E. Elliott,

D.D.S., Monty Buck, D.D.S., Jarom C. Heaton, D.D.S., Michaell A. Huber, D.D.S., and Edward

F. Wright, D.D.S. Id. Defendants are Glenn Parker, as (now former) Executive Director of the

TSBDE, and each of the TSBDE’s fifteen board members. Id.

        TSOMS is an organization comprised of more than 350 active members, all of whom are

oral and maxillofacial surgeons who have completed rigorous education and training

requirements, who fulfill annual continuing education requirements, and who submit to periodic

evaluations to ensure that office procedures and personnel meet stringent national and state

standards. See Constitution and Bylaws for TSOMS, “Qualifications,” Exh. 1, at pp. 3-4. Unlike

the individual Plaintiffs in this lawsuit, TSOMS’ members are dental specialists recognized by

the Commission on Dental Accreditation of the American Dental Association (“CODA”), and

who qualify to advertise themselves as specialists.1 To achieve that recognition, TSOMS

members train in a CODA accredited residency training program for a minimum of four years.

1
  According to CODA’s website, “CODA was established in 1975 and is nationally recognized by the United States
Department of Education (USDE) as the sole agency to accredit dental and dental-related education programs
conducted at the post-secondary level.” See CODA, “About Us,” available at http://www.ada.org/en/coda/
accreditation/about-us/. Notably, the “Commission functions independently and autonomously in matters of
developing and approving accreditation standards, making accreditation decisions on educational programs and
developing and approving procedures that are used in the accreditation process. It is structured to include an
appropriate representation of the communities of interest.” Id.




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See id. at 3. Oral and maxillofacial surgeons have knowledge and expertise that uniquely

qualifies them to diagnose and treat functional and esthetic conditions in the maxillofacial

region. Id. In addition, oral and maxillofacial surgeons and their staff maintain the highest

safety standards to ensure patients have a safe, comfortable, and medically successful

experience. Id.

       B.      THE REGULATORY SCHEME

       The starting point for understanding the Advertising Regulation is the Texas Occupations

Code, promulgated by the Texas Legislature. In the Texas Occupations Code, the Texas

Legislature charged the TSBDE with adopting and enforcing rules necessary to “ensure

compliance with state laws relating to the practice of dentistry to protect the public health and

safety.” TEX. OCC. CODE § 254.001(a)(2). In addition, Section 254.002 empowered the TSBDE

to “adopt and enforce reasonable restrictions to regulate advertising relating to the practice of

dentistry by a person engaged in the practice of dentistry as provided by Section 259.005.” TEX.

OCC. CODE § 254.002(b). Section 259.005, in turn, says that “Board rules adopted . . . to regulate

advertising may include restrictions that prohibit communications to the public” that “are false,

misleading, or deceptive.” TEX. OCC. CODE § 259.005(1). Finally, Section 259.006 expressly

prohibits any person from engaging in “false, misleading, or deceptive advertising in connection

with the practice of dentistry” and prohibits any “person regulated by the board” from

“engag[ing] in advertising that does not comply with the reasonable restrictions adopted by the

board under Section 259.005.” TEX. OCC. CODE § 259.006(a)-(b). The Texas Occupations Code

also provides that the TSBDE may take disciplinary action against a dentist for violation of these

advertising restrictions only after “notice and hearing.” TEX. OCC. CODE § 263.002(a)(5).

       Pursuant to the power delegated to it by the Texas Legislature, the TSBDE promulgated

the Advertising Regulation, codified in section 108.54 of title 22 of the Texas Administrative



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Code, following a public comment period. The objective of that regulation, and all regulations

relating to advertising by dentists, is to ensure that all dentists comply with “the duty to

communicate truthfully and without deception to the public.” TEX. ADMIN. CODE § 108.50(b).

       The Advertising Regulation does two main things. First, it lists nine “specialty areas” of

dentistry recognized in Texas, one of which is oral and maxillofacial surgery. TEX. ADMIN.

CODE § 108.54(b). Those areas of specialty are Endodontics, Oral and Maxillofacial Surgery,

Orthodontics and Dentofacial Orthopedics, Pediatric Dentistry, Periodontics, Prosthodontics,

Dental Public Health, Oral and Maxillofacial Pathology, and Oral and Maxillofacial Radiology.

Id. Second, the regulation delineates the requirements that a dentist must satisfy in order to

advertise himself as a specialist in one of those specialty areas: (1) successfully complete an

education program of two or more years in the specialty area accredited by CODA; or (2)

become board certified by a specialty board accredited by CODA and receive a certificate from

that specialty board indicating that the dentist has achieved “diplomate status.” Id. §

108.54(c)(1)-(2).

       C.      THE FIRST LAWSUIT

       Prior to 2013, Texas law did not permit a dentist who had taken advance coursework and

obtained credentials from a board other than CODA to advertise that certification or training.

See Original Complaint, Elliott v. Parker, No. 1:12-cv-00330-LY (W.D. Tex. Apr. 11, 2012),

Dkt. No. 2, ¶¶ 10, 21, 34-35. Several Plaintiffs to this lawsuit previously mounted a legal

challenge to the constitutionality of the Texas regulations governing dental advertising. In 2011,

Plaintiffs Monty Buck, Jay Elliot, and the AAID, represented by the same attorneys, sued the

TSBDE to have those regulations declared unconstitutional. See generally id. In that lawsuit,

these plaintiffs expressly did not seek to advertise as “specialists,” but instead sought “to




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advertise truthful statements relating to the credentials they and other dentists have earned from

the AAID and [the American Board of Oral Implantology/Implant Dentistry].” Id., ¶ 24.

       In response to that lawsuit, the TSBDE amended the Texas Administrative Code in two

ways. First, the Board amended section 108.55 to provide that “[a] dentist whose license is not

limited to the practice of an ADA recognized specialty identified under § 108.54(b)(1)-(9) . . .

may advertise that the dentist performs dental services in those specialty areas of practice, but

only if the advertisement also includes a clear disclosure that he/she is a general dentist.” TEX.

ADMIN. CODE § 108.55(a). Second, the Board adopted a new section 108.56, which provides that

“[d]entists may advertise credentials earned in dentistry so long as they avoid any

communications that express or imply specialization in a recognized specialty, or specialization

in an area of dentistry that is not recognized as a specialty, or attainment of an earned academic

degree.” TEX. ADMIN. CODE § 108.56(a). Thus, under the amended Texas regulations, general

dentists in Texas may advertise that they perform services in a particular area of dental practice

and may advertise that they have earned credentials in a particular area, regardless of the

certifying board. The only limitation is that any non-specialist dentist must disclose that he or

she is a “general dentist.” As a direct result of this amendment, the parties stipulated to the

dismissal of the lawsuit. Rule 41 Stipulation of Dismissal, Elliott v. Parker, No. 1:12-cv-00330-

LY (W.D. Tex. filed May 1, 2013), Dkt. No. 20.

       D.      THE AMERICAN DENTAL ASSOCIATION’S RECOGNITION OF
               DENTAL “SPECIALTIES”

       The Advertising Regulation does not preclude the recognition of new areas of dental

specialty, so long as the specialty is “recognized by a board that certifies specialists in the area of

specialty” and is “accredited by the Commission on Dental Accreditation of the American Dental




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Association.” TEX. ADMIN. CODE § 108.54(a).2 However, in promulgating the Advertising

Regulation, the TSBDE chose to explicitly recognize nine areas of dental specialty that presently

are recognized as areas of specialty by the American Dental Association (“ADA”). “Founded in

1859, the not-for-profit [ADA] is the nation’s largest dental association, representing more than

157,000 dentist members.” ADA, “About the ADA,” available at http://www.ada.org/en/about-

the-ada/. Although Plaintiffs allege that “the ADA is neither a neutral nor an impartial fact-

finder,” whose membership competes with Plaintiffs, Plaintiffs themselves are members of the

ADA. See Deposition of Jay Elliott dated Jan. 8, 2015, Exh. 3, at 19:6-8; Deposition of Jarom

Heaton dated Jan. 7, 2015, Exh. 4, at 8:10-12.

        Although the ADA currently recognizes only nine areas of dental specialty, there is a

procedure in place for the consideration and recognition of other areas of specialty. This

procedure has led the ADA to recognize additional dental specialties over the years. Council on

Dental Education & Licensure, “2011 Periodic Review of Dental Specialty Education and

Practice,” Exh. 5, at 3. An organization seeking specialty status must submit an application to

the Council on Dental Education and Licensure and demonstrate compliance with six criteria to

qualify for specialty status. ADA, “Requirements for Recognition of Dental Specialties and

National Certifying Boards for Dental Specialties” (Nov. 2013), Exh. 6, at 1-2. The Council on

Dental Education and Licensure then submits its recommendation to the ADA House of

Delegates, and the delegates vote on whether to approve that application. Id. at 1.




2
  As the TSDBE points out in its motion for summary judgment, the statutory requirements are confusing because
CODA accredits educational programs, not specialties. Defendants’ Motion for Summary Judgment, Dkt. No. 46, at
25. Although it does not matter for purposes of deciding this motion, TSOMS believes that a fair reading of the
statute is that a dentist should achieve CODA accreditation in an area of study recognized by the ADA as a
specialty. Educational accreditation by CODA is the gold standard in American dentistry and has been “for eons.”
See Deposition of Kirby Bunel dated Feb. 17, 2015 (“Bunel Dep.”), Exh. 2, at 79:18-81:8, 82:6-11.




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       Plaintiffs are aware of the specialty recognition process and have attempted to invoke it

in the past. For example, the AAOP applied for specialty recognition more than a decade ago,

but did not obtain that status because it did not at that time meet all of the qualifying criteria. See

Deposition of Ronald Auvenshine dated Jan. 9, 2015 (“Auvenshine Dep.”), Exh. 7, at 9:11-16.

The AAOP has not reapplied since that time. Id. The AAID also applied for specialty

recognition “in the 1990s,” but has not reapplied since that time. Deposition of

Nicholas Caplanis dated Jan. 9, 2015 (“Caplanis Dep.”), Exh. 8, at 48:19-49:16. The ASDA has

applied for specialty recognition on four occasions since 1994, the most recent application

having been made in 2012. Deposition of Michael Mashni dated Jan. 9, 2015 (“Mashni Dep.”),

Exh. 9, at 24:19-25:21. Finally, the AAOM has applied for specialty recognition twice, more

than a decade ago. Both times its application was unsuccessful. Deposition of Craig Miller

dated Jan. 7, 2015 (“Miller Dep.”), Exh. 10, at 54:17-55:6.

III.   SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate where there is no genuine issue as to any material fact

and the moving party is entitled to judgment as a matter of law. FED. R. CIV. P. 56(a); Celotex

Corp. v. Catrett, 477 U.S. 322, 323 (1986). Disagreement among the parties as to some of the

facts does not prevent summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-

48 (1986). To the contrary, summary judgment is precluded under Rule 56 only when the

dispute is genuine and the disputed facts might affect the outcome of the suit. Id.; Speaks v.

Trikora Lloyd P.T., 838 F.2d 1436, 1438-39 (5th Cir. 1988).

       Once the moving party makes a showing that there is no evidence to support the claims as

alleged, the nonmoving party must come forward with some competent summary judgment

evidence of the existence of a genuine fact issue. Matsushita Elec. Indus. Co. v. Zenith Radio,

475 U.S. 574, 586 (1986). “Mere conclusory allegations” are insufficient to defeat summary



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judgment. Topalian v. Ehrman, 954 F.2d 1125, 1131 (5th Cir. 1992). Instead, the opposing

party “must identify specific evidence in the record” and “articulate the precise manner in which

that evidence supports his claim.” Ragas v. Tenn. Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir.

1998).

IV.      ARGUMENT

         Plaintiffs invoke 42 U.S.C. § 1983 to assert three constitutional claims: (1) a First

Amendment free speech claim; (2) an equal protection claim under the Fourteenth Amendment;

and (3) a substantive and procedural due process claim, under the Fifth and Fourteenth

Amendments. For the reasons that follow, each of these claims fails as a matter of law.

         A.     PLAINTIFFS’ FREE SPEECH CLAIM FAILS THE CENTRAL HUDSON
                TEST

         Plaintiffs initially allege that the Advertising Regulation violates their First Amendment

right to “advertise truthfully” that they are “specialists in their respective areas of expertise.”

Compl., ¶ 45. Because the Advertising Regulation at issue regulates “commercial speech”—i.e.,

speech “related solely to the economic interests of the speaker and its audience”—Plaintiffs’

claim is subject to intermediate scrutiny. Central Hudson Gas & Elec. Corp. v. Pub. Serv.

Comm’n, 447 U.S. 557, 561 (1980); see also Am. Acad. of Pain Mgmt. v. Joseph, 353 F.3d 1099,

1106 (9th Cir. 2004) (concluding that a similar regulation prohibiting medical practitioners from

advertising as “board certified” except under limited circumstances “relate[d] to a specific

product, medical services” and was therefore subject to intermediate scrutiny). In Central

Hudson, the Supreme Court articulated a four-part test for evaluating commercial speech under

the First Amendment:

         At the outset, we must determine whether the expression is protected by the First
         Amendment. For commercial speech to come within that provision, it at least
         must concern lawful activity and not be misleading. Next, we ask whether the
         asserted governmental interest is substantial. If both inquiries yield positive



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       answers, we must determine whether the regulation directly advances the
       governmental interest asserted, and whether it is not more extensive than is
       necessary to serve that interest.

Central Hudson, 447 U.S. at 566. For the reasons that follow, Plaintiffs cannot meet this four-

part test, and their First Amendment claim fails as a matter of law.

               1.      Plaintiffs’ proposed advertising is potentially misleading and
                       therefore must satisfy the remaining Central Hudson criteria.

       Plaintiffs’ lawsuit proposes that general dentists be permitted to advertise to the public

that they are “specialists” in various fields. The Supreme Court has distinguished between

“inherently misleading” speech, which is not entitled to First Amendment protection and not

subject to the remaining Central Hudson factors, and “potentially misleading” speech, which

must satisfy the other Central Hudson factors to pass constitutional muster. See In re R.M.J.,

455 U.S. 191, 202-03 (1982). Advertising is “inherently misleading” when it is “inherently

likely to deceive or where the record indicates that a particular form or method of advertising has

in fact been deceptive.” Id. By contrast, advertising is only “potentially misleading” when

“depending on [various] contingencies, use of the regulated term[] may or may not be

deceptive.” Ass’n of Nat’l Advertisers, Inc. v. Lungren, 44 F.3d 726, 731-32 (9th Cir. 1994).

When the commercial speech at issue has “no intrinsic meaning” or is “ill-defined,” the Supreme

Court has recognized that “there is a significant possibility” that such speech “will be used to

mislead the public.” Friedman v. Rogers, 440 U.S. 1, 12-13 (1979) (finding the use of trade

names in the advertising of optometry practices potentially misleading).

       The record demonstrates that the term “specialist” has “no intrinsic meaning,” is “ill-

defined,” and has a significant potential to mislead the public. As one court explained in

evaluating the term “specialist” in a similar free speech case brought by dentists:

       “[S]pecialist” and like terms bear no reliable and intrinsic meaning; the content of
       a specialty is tied to the educational or other requirements which qualify a



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       professional to hold himself out as one who specializes. Bereft of standard, the
       term still may project a high degree of profession on its face, but the underlying
       qualification is subject to the whims of the user. Thus, to permit this sort of
       information to “flow freely” would in essence keep consumers ignorant of crucial
       information which they must and ought to be able to rely on in choosing a dentist
       . . . . The general public requires some uniform standard of minimal competence,
       and the ability to rely on each and every representation that a particular dentist in
       fact qualifies as a specialist . . . .

Parmley v. Missouri Dental Bd., 719 S.W.2d 745, 753 (Mo. 1986) (emphasis in original). Were

any general dentist able to advertise himself as a “specialist” in Texas based on some “ill-

defined” and non-uniform standard, the public would have no way of knowing whether any

particular dental “specialist” actually had the educational and training background to perform the

particular dental services advertised.

       A brief review of Plaintiffs’ deposition testimony reveals that not even Plaintiffs agree as

to what a “specialist” is or how specialty status should be determined. According to Plaintiff

Monty Buck, “[t]here should be a legitimate, codified Certifying Board that has specific and

published and accepted standards” that decides who is a specialist. Deposition of Monty Buck

dated Jan. 8, 2015 (“Buck Dep.”), Exh. 11, at 15:4-16:1. By contrast, AAID representative

Nicholas Caplanis testified that certification by a board is not an essential element of becoming a

specialist. Caplanis Dep., Exh. 8, at 25:6-14. Instead, he agreed that someone who has “never

been given any kind of official recognition as a specialist” could be a “specialist.” Id. at 25:15-

19. When asked how a consumer of dental services would know whether “someone is, in fact, a

specialist or is simply calling themselves a specialist without justification,” Mr. Caplanis replied:

“[t]hat is not at this time of concern” to the AAID. Id. at 27:2-18.

       Plaintiffs’ testimony plainly demonstrates that the term “specialist” is ill-defined and

without intrinsic meaning. Courts have held that this alone demonstrates that the speech is not

entitled to constitutional protection. See Am. Acad. of Pain Mgmt., 353 F.3d at 1108; see also




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Simm v. Louisiana State Bd. of Dentistry, 2002 WL 63538, at *3 (E.D. La. Jan. 16, 2002)

(“Commercial speech is ‘inherently’ misleading when it is likely to deceive and when it is

‘devoid of intrinsic meaning.’”) (quoting Joe Conte Toyota, Inc. v. La. Motor Vehicle Comm’n,

24 F.3d 754, 756 (5th Cir. 1994)). But even if the term “specialist” were “merely potentially

misleading, . . . consideration of the remaining three Hudson factors confirms that the State may

restrict the use of the term.” Am. Acad. of Pain Mgmt., 353 F.3d at 1107-08.

               2.      The State of Texas has a substantial interest in protecting its citizens
                       from misleading “specialist” claims.

       The TSBDE easily meets the second Central Hudson factor. The Supreme Court and

federal appellate courts repeatedly have held that states have a “substantial” interest in “ensuring

the accuracy of commercial information in the marketplace.” See Edenfield v. Fane, 507 U.S.

761, 769 (1993); Pub. Citizen Inc. v. La. Attorney Disciplinary Bd., 632 F.3d 212, 220 (5th Cir.

2011) (same); Am. Acad. of Pain Mgmt., 353 F.3d at 1108 (“There is no question that California

has a substantial interest in protecting consumers from misleading advertising by medical

professionals.”); Borgner v. Brooks, 284 F.3d 1204, 1210-11 (11th Cir. 2002) (holding that state

had a substantial interest in regulating advertisements by dentists). This is particularly true when

it comes to “advertising for professional services,” which the Supreme Court has emphasized is

“especially susceptible to abuses.” In re R.M.J., 455 U.S. at 202. For this reason, states have

“broad power to establish standards for licensing practitioners and regulating the practice of

professions.” Fla. Bar v. Went For It, Inc., 515 U.S. 618, 625 (1994) (citations omitted).

Indeed, TSOMS is unaware of a single case involving the regulation of commercial speech




                                               - 11 -
regarding medical specialties where the court has not held that the state has a substantial interest

in protecting the consuming public.3 The second prong of Central Hudson is satisfied here.

                  3.       The Advertising Regulation directly advances the State’s
                           governmental interest in protecting its citizens from misleading
                           speech.

         The Advertising Regulation also meets the third Central Hudson prong as a matter of

law. The fit between the state’s interest and the regulation at issue “need not be perfect, but

simply reasonable.” Lungren, 44 F.3d at 732 (internal quotations omitted). As the Supreme

Court has explained, the speech restriction need only provide something more than “ineffective

or remote support” for a legitimate governmental policy goal. Central Hudson, 447 U.S. at 564.

Moreover, the relationship between the regulation and the policy goal “need not be proven by

empirical evidence; rather, it may be supported by ‘history, consensus, and simple common

sense.’” Educational Media Co. at Virginia Tech, Inc. v. Swecker, 602 F.3d 583, 589 (4th Cir.

2010) (quoting Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 555 (2001)). Further, the

evidence may “pertain to different locales altogether” and “need not exist pre-enactment.” Pub.

Citizen Inc., 632 F.3d at 221 (internal quotations omitted). Here, the evidence, history, and

“simple common sense” all demonstrate the requisite link between the State of Texas’ interest in

protecting public safety and health and the Advertising Regulation’s limits on “specialist”

advertising.

         The evidence demonstrates indisputably that some restrictions on specialty advertising

are necessary to protect the health and safety of Texas consumers of dental services. Plaintiff

Buck acknowledged that he is aware of “instances where general dentists, without any form of

specialty, have advertised as implant experts and that [had] been a problem.” Buck Dep., Exh.
3
  The Texas Legislature has expressly codified the State’s substantial interest: protecting “the health and safety” of
the public from “false, misleading, or deceptive” advertising by licensed dentists. See TEX. OCC. CODE
§§ 254.001(2), 254.002(b), 254.005(1).




                                                        - 12 -
11, at 46:20-23. Kirby Bunel, a current TSBDE board member and a practicing oral and

maxillofacial surgeon, likewise testified that he is aware of instances where general dentists have

performed services in “specialty” areas because “patients will come to [his] practice” after

“experiencing a complication” from a specialty procedure performed “in a general dentist’s

office.” Bunel Dep., Exh. 2, at 67:22-68:12. TSOMS representative Mark Craig similarly

testified that studies comparing health outcomes from implant procedures performed by general

dentists versus oral surgeons indicate that the “complication rate was higher for nonspecialists

who were placing dental implants.” Deposition of Mark Craig dated Feb. 18, 2015 (“Craig

Dep.”), Exh. 12, at 110:18-111:8. This type of anecdotal evidence demonstrating that consumers

might be (and in fact are) misled into using general dentists for complex procedures that

specialists are more qualified to perform is alone sufficient to demonstrate the requisite link

between the State of Texas’ interest in protecting public health and the Advertising Regulation’s

restrictions on commercial speech. See Lungren, 44 F.3d at 733 (citing anecdotal evidence about

“instances of advertisers making marketing claims containing misleading” information and

consumer behavior as sufficient evidence to support Central Hudson’s third prong).

       The history of regulation and consumer experience in other states also confirms that the

Advertising Regulation materially advances the State’s interest in protecting the public from

misleading specialist advertising. As former TSBDE Executive Director, Julie Hildebrand,

testified, the Board relied on the experiences of other states in their regulation of dental

advertising in developing the Advertising Regulation for Texas. Deposition of Julie Ann Caylor

Hildebrand dated Oct. 2, 2014 (“Hildebrand Dep.”), Exh. 13, at 128:16-129:1, 130:11-17. In

fact, several other states have passed regulations restricting dental advertising based on their




                                                - 13 -
conclusion that such regulations materially advance those states’ interest in protecting public

health. See, e.g., Borgner, 284 F.3d at 1212; Parmley, 719 S.W.2d at 752-53.

       Moreover, empirical data gathered by other states demonstrates that the moniker

“specialist” connotes a particular meaning in the minds of consumers. See, e.g., Borgner, 284

F.3d at 1212. Based on this data, the Borgner court concluded:

       (1) that a substantial portion of the public is misled by AAID and implant
       dentistry advertisements that do not explain that AAID approval does not mean
       ADA or Board approval; and (2) that ADA certification is an important factor in
       choosing a dentist/specialist in a particular practice area for a large portion of the
       public.

Id. at 1213. The very same concerns exist here, and the Advertising Regulation addresses those

concerns by limiting use of the word “specialist” to those dentists who have obtained

certification in an ADA-recognized specialty.

       Further, the ADA’s own views support the TSBDE’s view that restriction of “specialist”

advertising is necessary to protect the consuming public. The ADA’s Rules of Ethical Conduct

expressly prohibit dentists from advertising as specialists except under limited circumstances:

       This section and Section 5.I are designed to help the public make an informed
       selection between the practitioner who has completed an accredited program
       beyond the dental degree and a practitioner who has not completed such a
       program. The dental specialties recognized by the American Dental Association
       and the designation for ethical specialty announcement and limitation of practice
       are: dental public health, endodontics, oral and maxillofacial pathology, oral and
       maxillofacial radiology, oral and maxillofacial surgery, orthodontics and
       dentofacial orthopedics, pediatric dentistry, periodontics and prosthodontics. . . .
       Dentists who use their eligibility to announce as specialists to make the public
       believe that specialty services rendered in the dental office are being rendered by
       qualified specialists when such is not the case are engaged in unethical conduct.

ADA, Principles of Ethics and Code of Professional Conduct, Exh. 14, § 5.H. Where, as here, a

national professional organization governing the profession at issue has indicated that restriction

on professional advertising is necessary to protect consumers, the federal courts have held that

such “consensus” supports the state’s regulation. See, e.g., Falanga v. State Bar of Ga., 150 F.3d



                                                - 14 -
1333, 1341-42, 1347 (11th Cir. 1998) (upholding constitutionality of state regulation prohibiting

attorneys from engaging in in-person uninvited solicitation of prospective clients).

       Finally, it is just “common sense” that the Advertising Regulation materially advances

the State’s interest in protecting the public from misleading information regarding dental

services. Again, the fit between the regulation and the state’s interest need not be “perfect,” but

just “reasonable.” Lungren, 44 F.3d at 732 (internal quotations omitted). Plaintiffs themselves

have testified that there needs to be some standard for determining whether a particular

practitioner is a specialist in a particular field. See, e.g., Buck Dep., Exh. 11, at 15:4-16:1;

Deposition of Michaell Huber, Exh. 15, at 19:10-20; Mashni Dep., Exh. 9, at 20:20-21:2. In

addition, as TSOMS representative Mark Craig testified, CODA provides a “yardstick to

determine whether [a specialty] meets standardized educational criteria.” Craig Dep., Exh. 12, at

27:11-28:11. CODA is the only widely-known organization identified by any party with

standardized means to determine whether a particular individual is a specialist. As Dr. Craig

explained, without relying on CODA approval, it would be impossible to compare one specialty

program to another to ensure that adequate training is being provided to those intending to

become specialists in their field, particularly in oral surgery. Id. at 29:12-22.

       It was thus reasonable for the TSBDE to adopt the ADA’s definition of “specialist”

because the ADA has been regulating the field of dentistry for decades, is an organization to

which a substantial percentage of all practicing dentists belong, and has definitive professional

standards for recognizing and regulating specialty dental practices. The Advertising

Regulation’s limitation on specialist advertising is, at a minimum, a “reasonable” regulatory

device for protecting the consuming public from misleading dental advertisements.




                                                - 15 -
                  4.       The Advertising Regulation is appropriate and no more extensive
                           than necessary to protect the State’s interest.

         The Advertising Regulation at issue also meets Central Hudson’s last requirement

because it represents a reasonable means to protect the public from potentially misleading

“specialist” claims by general dentists.4

         Here, unlike those cases where the regulation at issue posed constitutional problems, the

regulatory scheme does not impose an outright ban on Plaintiffs’ advertisement of their non-

ADA credentials. Compare Abramson v. Gonzalez, 949 F.2d 1567, 1570-73 (11th Cir. 1992)

(striking down regulation banning unlicensed psychologists from advertising using nearly twenty

different terms, such as “social worker,” “therapist,” and “counselor”); Peel v. Attorney

Registration & Disciplinary Comm’n of Ill., 496 U.S. 91, 110 (1990) (reversing judgment

upholding regulation that “completely ban[ned]” attorneys from advertising specialty

certification). Instead, Texas’ regulation merely limits the use of the word “specialist” and

requires that dental practitioners who have not complied with the Advertising Regulation’s

requirements for specialty status disclose that they are “general dentists.” TEX. ADMIN. CODE

§ 108.55(a), § 108.56(a).

         Numerous courts have upheld the constitutionality of precisely this type of regulation.

For example, in Borgner, the plaintiffs—general dentists with accreditation from various non-

ADA dental organizations—similarly complained that Florida’s advertising regulation violated

the First Amendment. 284 F.3d at 1206-07.5 That regulation permitted general dentists to


4
 Notably, the TSBDE need not demonstrate that the Advertising Regulation is “the least restrictive means
available” to protect the State’s interest in protecting the public from misleading dental advertising. Fla. Bar, 515
U.S. at 362.
5
  Notably, the Borgner plaintiffs, represented by the same law firm representing Plaintiffs here, also filed a prior
lawsuit challenging the state’s outright ban on advertisement of non-ADA specialty credentials as unconstitutional
(as certain Plaintiffs did here). See Borgner v. Cook, 33 F. Supp. 2d 1327, 1327 (N.D. Fla. 1998). The district court
found the state regulation unconstitutional, id. at 1333, prompting the Florida legislature to amend the law to permit




                                                        - 16 -
advertise that they had obtained credentials from an organization other than the ADA but

required that the advertisement disclose that the credentialing organization was not state-

approved. Id. at 1207. The district court struck down the regulation as unconstitutional, and the

Eleventh Circuit Court of Appeals reversed. Id. at 1207, 1216. In analyzing the fourth Central

Hudson factor, the Court of Appeals held that the “disclaimer requirements” were “no more

extensive than necessary to serve the state’s interest in ‘protecting its citizens from unqualified

and incompetent health care professionals,’ and establishing standards and uniform criteria for

the certification of its licensed dentists.” Id. at 1213-14 (quoting Strang v. Satz, 884 F. Supp.

504, 508 (S.D. Fla. 1995)). Other courts similarly have concluded that disclaimer language of

the type required under the Texas advertising regulations meets the fourth prong of the Central

Hudson test. See, e.g., Zauderer v. Office of Disciplinary Counsel of the Supreme Court of Ohio,

471 U.S. 626, 651 (1985) (“disclosure requirements trench much more narrowly on an

advertiser’s interests than do flat prohibitions on speech”); Abramson, 949 F.2d at 1577

(suggesting that a disclaimer is a constitutional alternative to an outright ban); compare Parker v.

Commonwealth of Ky. Bd. of Dentistry, 818 F.2d 504, 510 (6th Cir. 1987) (finding

unconstitutional an “outright prohibition” on certain dental advertising and noting that a

“disclaimer” would have “adequately address[ed] the state’s concern”).

         As in Borgner, the TSBDE’s current regulatory scheme reasonably permits dentists

without ADA specialty status to advertise their credentials in their particular areas of expertise

and merely requires that they disclose they are “general dentists” instead of “specialists.” The

fourth Central Hudson factor is met.

such advertisement under certain conditions. Borgner, 284 F.3d at 1207. The Borgner plaintiffs, again represented
by the same plaintiffs’ firm, then again sued the state, arguing that the amended regulations similarly violated the
First Amendment. Id. at 1206-07. The Eleventh Circuit Court of Appeals reversed the district court’s summary
judgment ruling in favor of the plaintiffs and directed the court to grant the State’s cross-motion for summary
judgment on the basis that the regulation did not violate the First Amendment. Id. at 216.




                                                       - 17 -
         B.       PLAINTIFFS’ EQUAL PROTECTION CLAIM FAILS AS A MATTER OF
                  LAW

         Plaintiffs also allege that the Advertising Regulation “creates discriminatory

classifications between dentists who have obtained designations as ADA-recognized specialists

and those who have obtained professional dental credentials in an area of dentistry not

recognized by the ADA as a specialty.” Compl., ¶ 51. According to Plaintiffs, this

discriminatory classification denies them equal protection under the law. Plaintiffs are wrong.

         Plaintiffs cannot meet their steep burden to prove their equal protection claim. As the

Supreme Court has held, “[u]nless a classification trammels fundamental personal rights or is

drawn upon inherently suspect distinctions such as race, religion, or alienage, [the Court’s]

decisions presume the constitutionality of the statutory discriminations and require only that the

classification challenged be rationally related to a legitimate state interest.” Friedman, 440 U.S.

at 17. Plaintiffs have no “fundamental right” to advertise themselves as specialists and so the

Advertising Regulation, and the distinction between general dentists and specialists certainly is

not “drawn upon inherently suspect distinctions.” See Parmley, 719 S.W.2d at 754-55

(“[A]ppellant’s practice of dentistry cannot be said to be a fundamental right, thus the ‘right’ to

announce his specialty in pedodontics is not fundamental. Neither can it be said that the

classification draws upon some ‘inherently suspect distinctions such as race, religion, or

alienage.”). Accordingly, the Advertising Regulation is subject only to rational basis scrutiny for

purposes of Plaintiffs’ equal protection claim.6


6
  Plaintiffs previously have claimed that their equal protection claim should be evaluated using “intermediate
scrutiny” because First Amendment concerns are also at issue. Plaintiffs’ Response to Defendants’ Motion for
Partial Dismissal, Dkt. No. 11, at 6-7. This is wrong. The Fifth Circuit has held that equal protection challenges to
state regulation are subject to rational basis scrutiny, even where the plaintiff also challenged the regulation under
the First Amendment. See Gibson v. Texas Dep’t of Ins., 700 F.3d 227, 232, 238-39 (2012) (dismissing plaintiff’s
equal protection challenge to a state law prohibiting use of a particular domain name in plaintiff’s legal practice);
accord Locke v. Shore, 634 F.3d 1185, 1189, 1195-96 (11th Cir. 2011) (where plaintiffs challenged state licensing
requirement under the First and Fourteenth Amendments, holding that “[r]ational basis review applies to Due




                                                        - 18 -
         Under rational basis scrutiny, the Advertising Regulation is “presumed constitutional,”

and it is Plaintiffs’ burden to prove that there is no “conceivable basis which may support [the

regulation], whether or not the basis has a foundation in the record.” Authentic Beverages Co. v.

Texas Alcoholic Beverage Comm’n, 835 F. Supp. 2d 227, 248 (W.D. Tex. 2011) (quoting F.C.C.

v. Beach Commc’ns, 508 U.S. 307, 321 (1993)). This is commensurate with the Supreme

Court’s warning that “‘equal protection is not a license for courts to judge the wisdom, fairness,

or logic of legislative choices.’” Id. (quoting Beach Commc’ns, 508 U.S. at 313). There is

ample evidence in this record demonstrating that the TSBDE had a rational basis for adopting the

Advertising Regulation. The TSBDE reasonably concluded that communications to the public

about a dentists “specialty” status should be tied to some recognizable standard. The ADA is a

nationally recognized organization with dentists members all over the state and country. See

ADA, “About the ADA,” available at http://www.ada.org/en/about-the-ada/. And CODA has

been accrediting dentists as specialists “for eons.” Bunel Dep., Exh. 2, at 79:18-81:8, 82:6-11.

At the very least, there was a rational basis for the TSBDE to choose CODA standards for

recognition of dental specialties in Texas.

          In any event, because the Advertising Regulation survives intermediate scrutiny under

Central Hudson, it necessarily survives lesser rational basis scrutiny. See Parmley, 719 S.W.2d

at 755 (“If under the Central Hudson test, the statutory restrictions are found to directly advance

the governmental interest and go no further than necessary to do so, then they should survive a

minimum level of scrutiny under traditional rational basis analysis.”). Plaintiffs’ equal

protection challenge should be rejected as a matter of law.


Process and Equal Protections Clause challenges to state professional regulations, because the right to practice a
particular profession is not a fundamental one.”); Nat’l Ass’n for Advancement of Psychoanalysis v. Cal. Bd. of
Psychology, 228 F.3d 1043, 1046, 1050 (9th Cir. 2000) (analyzing equal protection claim using rational basis
scrutiny, even though plaintiffs challenged the state regulation under the First Amendment as well).




                                                        - 19 -
        C.       PLAINTIFFS’ DUE PROCESS CLAIM FAILS AS A MATTER OF LAW

        Finally, Plaintiffs claim that the Advertising Regulation violates their procedural and

substantive due process rights under the Fifth and Fourteenth Amendments because the

regulation (1) deprives them of a “State mechanism to evaluate the professional dental

credentials earned by dentists in areas of dentistry not recognized by the ADA as specialists;” (2)

deprives them of “any mechanism for appealing the TSB[D]E’s denial of recognition of any

credentialing organization or any areas of dental practice not declared to be specialty areas of

practice by the ADA;” and (3) deprives them of “any right to a neutral and impartial fact-finder,

resulting in arbitrary and capricious decisions.” Compl., ¶¶ 48-49. As explained below, each of

these due process claims is meritless and should be rejected as a matter of law.

        Plaintiffs’ substantive due process claim fails for at least two reasons. Substantive due

process is “the doctrine that governmental deprivations of life, liberty or property are subject to

limitations regardless of the adequacy of the procedures employed.” Kiser v. Reitz, 2015 WL

1286430, at *4 (S.D. Ohio Mar. 20, 2015) (quoting Does v. Munoz, 507 F.3d 961, 964 (6th Cir.

2007)). Plaintiffs’ substantive due process claim fails at the outset because it is entirely

duplicative of their equal protection and First Amendment claims.7 “Where a particular

Amendment provides an explicit textual source of constitutional protection against a particular

sort of government behavior, that Amendment, not the more generalized notion of substantive

due process, must be the guide for analyzing those claims.” County of Sacramento v. Lewis, 523

U.S. 833, 842 (1998); Willis v. Town of Marshall, 426 F.3d 251, 256 (4th Cir. 2005) (same).

Plaintiffs’ substantive due process claim is merely an attempt to “recast” their First Amendment

claim in “substantive due process terms” and should be rejected on this basis alone. Lindquist v.

7
 The Court has previously noted the “significant overlap” in Plaintiffs’ First Amendment and due process claims.
Order dated June 20, 2014, Dkt. No. 23, at 9.




                                                      - 20 -
City of Pasadena, 525 F.3d 383, 387 (5th Cir. 2008) (affirming dismissal of due process claim

that simply “recast” an equal protection claim “in substantive due process terms”).

        Plaintiffs’ substantive due process claim also fails because Plaintiffs have not identified

any “deprivation” that has occurred. Lowe v. Scott, 959 F.2d 323, 334 (1st Cir. 1992). The only

property interest Plaintiffs point to is their license to practice dentistry. It is undisputed that no

Plaintiff has been deprived of their dental license or faced any actual threat of such deprivation

as a result of the Advertising Regulation. Cf. Seay v. Campbell, 2005 WL 1023400, at *4 (10th

Cir. May 3, 2005) (questioning whether plaintiff was “deprived” of property interest in his

medical license when State Board chose not to revoke his license). To the contrary, the

individual Plaintiffs all are currently practicing dentists in their respective areas of focus. To the

extent that Plaintiffs complain that they unable as a result of the Advertising Regulation to

engage in certain activities involving their dental practices—like advertising—that is not the type

of deprivation that runs afoul of the Due Process Clause. See Sherman v. State Bd. of Dental

Examiners, 116 S.W.2d 843, 844-47 (Tex. Civ. App.—San Antonio 1938, writ ref’d) (licensed

dentists are subject to the “power of the state to regulate and circumscribe the character of

advertising of their professional services”); Adams v. Tex. State Bd. of Chiropractic Examiners,

744 S.W.2d 648, 652-53 (Tex. App.—Austin 1988, no writ). Nor is there any evidence that any

organizational Plaintiff has suffered any “deprivation,” or that the organizations even have a

property interest that could be constitutionally protected. Absent evidence of a “deprivation” of

a protectable interest, there can be no substantive due process violation.

        Plaintiffs’ procedural due process claim fails for the same reason. To prove a violation of

procedural due process, Plaintiffs must demonstrate that the State’s enforcement of the

Advertising Regulation deprives them of a property interest without due process of law—




                                                 - 21 -
usually, notice and an opportunity to be heard. See Ramirez v. Ahn, 843 F.2d 864, 867 (5th Cir.

1988). Again, Plaintiffs cannot meet the threshold requirement that they demonstrate the

Advertising Regulation “deprived [them] of a cognizable property interest.” 8

         To the extent that Plaintiffs’ procedural due process claim is based on their allegation that

the TSBDE has improperly delegated power to the ADA to determine whether Plaintiffs are

specialists, that claim fails as well. This is precisely the argument made by the plaintiff in Kiser

v. Reitz, which was rejected by the District Court for the Southern District of Ohio. 2015 WL

1286430, at *4-5. As that court explained, the “ADA merely publishes a list of specialties, and

individual states have the opportunity to use that list for lawmaking purposes.” Id. at *5. That is

precisely what the TSBDE chose to do here in promulgating the Advertising Regulation. Thus it

is Texas law, and not rules imposed by the ADA, “that limits Plaintiff[s]” from designating

themselves as specialists in their advertising. Plaintiffs, like the plaintiff in Kiser, nevertheless

argue that the ADA does not provide a fair opportunity for them to obtain specialty recognition.

         That is both irrelevant and wrong. The relevant inquiry is whether Plaintiffs have “the

right to participate in [the TSBDE’s] rulemaking process or to petition the Board to amend its

rules.” Id. (emphasis in original). There is no question that the TSBDE’s rules afford Plaintiffs

that opportunity, which former executive director Julie Hildebrand confirmed. See TEX. ADMIN.

CODE §§107.60-107.62; Hildebrand Dep., Exh. 13, at 165:14-25. There is no denial of

procedural due process under these circumstances.

         Plaintiffs’ argument regarding the ADA is also wrong. It is undisputed that the ADA

does have procedures in place for recognition of additional specialty areas of practice. Plaintiffs

testified that they understand these procedures but have not recently invoked them. For example,
8
  If the individual Plaintiffs ever did face disciplinary action by the TSBDE for violating the Advertising Regulation,
they would be entitled to notice and a hearing before any suspension or revocation of their dental licenses occurred.
See TEX. ADMIN. CODE § 107.22-107.59; TEX. OCC. CODE § 263.002(a)(5).




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the AAOP, AAID, and AAOM have not applied for specialty recognition in more than a decade.

Auvenshine Dep., Exh. 7, at 9:11-16; Caplanis Dep., Exh. 8, at 48:19-49:16; Miller Dep., Exh.

10, at 54:17-55:6. And the ASDA has not applied for specialty recognition since 2012. Mashni

Dep., Exh. 9, at 24:19-25:21. Plaintiffs may not like the ADA’s procedures, but that has nothing

to do with whether they have procedural protections under the regulations promulgated by the

State of Texas. They do, and their due process claim should be dismissed as a matter of law.

III.   CONCLUSION

       Plaintiffs ask this Court to strike down and enjoin enforcement of the Advertising

Regulation even though all parties agree that some regulation of specialist advertising is

reasonable and necessary to protect Texas consumers of dental services. The TSBDE has

already amended the regulation to permit advertising of Plaintiffs’ credentials and to

comport with other states’ restrictions on dental advertising that have been held

constitutional. What Plaintiffs are really complaining about is that the ADA does not

recognize their areas of practice as specialties, but that is not something that the TSBDE

can or should control. If Plaintiffs want to be recognized as specialists, they should

utilize the procedures available to them to obtain recognition by the ADA, or they should

seek additional education, training, and experience in actual specialty areas recognized by

their colleagues. The Advertising Regulation imposes reasonable restrictions on dental

advertising and materially advances the State’s interest in protecting consumers from

misleading commercial speech. Summary judgment should be entered against Plaintiffs

on all claims.




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Dated: April 10, 2015       Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 10, 2015, I served a true and correct copy of the foregoing
via the Court’s ECF system on all counsel of record.


                                                             /s/ Lindsey B. Cohan
                                                             Lindsey B. Cohan
